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 5   (Application for Admission Pro Hac Vice to be filed)
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 9   Attorneys for Plaintiff
     ARSUS, LLC, a Utah limited liability corporation
10

11
                                UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN FRANCISCO DIVISION
14                                                       PATENT
15   ARSUS, LLC,
                                                         Case No. 3:20-cv-00313-RS
16                          Plaintiff,
        v.                                               FIRST AMENDED COMPLAINT
17                                                       FOR PATENT INFRINGEMENT
     TESLA, INC.,                                        AGAINST TESLA, INC.
18

19                          Defendant.                   DEMAND FOR JURY TRIAL

20           Plaintiff Arsus, LLC complains against Defendant Tesla, Inc., formerly known as Tesla
21   Motors, Inc., alleging that:
22
                                             I. THE PARTIES
23
             1.     Plaintiff Arsus, LLC (“Arsus” or “Plaintiff”) is a Utah limited liability company
24
     with its principal place of business at 350 West 2000, South Perry, Utah 84302.
25

26           2.     Defendant Tesla, Inc. (“Defendant”) is a corporation organized and existing under

27   the laws of Delaware, with a place of business at 380 Fairview Way, Milpitas, CA 95035.

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     FIRAT AMENDED COMPLAINT FOR PATENT INFRINGEMENT
     AGAINST TESLA, INC. AND JURY DEMAND
        Case 3:20-cv-00313-RS Document 13 Filed 04/07/20 Page 2 of 72



 1          3.      This action arises under the patent laws of the United States, Title 35 of the
 2   United States Code. This Court has subject matter jurisdiction of such action under 28 U.S.C. §§
 3
     1331 and 1338(a).
 4
            4.      Venue is proper in this district under 28 U.S.C. sections 1381(b) and 1400(b).
 5
            5.      On January 21, 2014, United States Patent No. 8,634,989 (“the ‘989 Patent”),
 6

 7   entitled Rollover Prevention Apparatus, was duly and legally issued by the United States Patent

 8   and Trademark Office. On April 16, 2019, United States Patent No. 10,259,494 (“the ‘494

 9   Patent”), entitled Rollover Prevention Apparatus, was duly and legally issued by the United
10   States Patent and Trademark Office.      Copies of the ‘989 and ‘494 patents are attached to this
11
     complaint as Exhibit A.
12
            6.      Within this District, Defendant has sold and offered for sale Tesla vehicles (the
13
     “accused vehicles”) that directly infringe the ‘989 patent, claims 1 to 4, and the ’494 patent,
14

15   claims 21 and 22, and is continuing to sell and offer for sale accused vehicles, namely, Tesla

16   vehicles, such as Tesla models S, X, and 3, equipped with Tesla’s so-called Auto-pilot system,

17   within this District. See the claim charts attached to this first amended complaint as Exhibit B.
18
            7.      Plaintiff is the assignee of all right, title and interest in the ‘989 and ‘494 patents,
19
     including all rights to enforce and prosecute actions for infringement of these patents.
20
            8.      Plaintiff has been damaged as a result of Defendant’s infringing conduct.
21
     Defendant is liable to Plaintiff for damages in an amount that adequately compensates Plaintiff
22

23   for this conduct.

24          9.      Defendant has had written notice of the ‘989 patent. See the notice
25   correspondence attached as Exhibit C.
26

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     FIRAT AMENDED COMPLAINT FOR PATENT INFRINGEMENT
     AGAINST TESLA, INC. AND JURY DEMAND
         Case 3:20-cv-00313-RS Document 13 Filed 04/07/20 Page 3 of 72



 1                                     IV. PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff requests that the Court find in its favor and against Defendant,
 3
     and that the Court grant Plaintiff the following relief:
 4
            a.       Judgment that one or more claims of the ‘989 and 494 patents have been infringed
 5
                     by Defendant;
 6

 7          b.       Judgment that Defendant account for and pay to Plaintiff all damages to and costs

 8                   incurred by Plaintiff because of Defendant’s infringing activities, and an

 9                   accounting of all infringements and damages not presented at trial;
10          c.       That Plaintiff be granted pre-judgment and post-judgment interest on the damages
11
                     caused by Defendant’s infringing activities;
12
            d.       That Plaintiff be granted such other and further relief as the Court may deem just
13
                     and proper under the circumstances.
14

15
     April 6, 2020                                     By       /s/Steven A. Nielsen
16                                                              Steven A. Nielsen
                                                                100 Larkspur Landing Circle, Suite 216
17                                                              Larkspur, CA 94939
     Patrick Bright (SBN 68709)
                                                                PHONE 415 272 8210
18   (Application for Admission Pro Hac Vice to
                                                                E-MAIL: Steve@NielsenPatents.com
     be filed)
19   Wagner, Anderson & Bright PC
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     FIRAT AMENDED COMPLAINT FOR PATENT INFRINGEMENT
     AGAINST TESLA, INC. AND JURY DEMAND
         Case 3:20-cv-00313-RS Document 13 Filed 04/07/20 Page 4 of 72



 1                                            JURY DEMAND
 2           Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of
 3
     all issues so triable.
 4

 5
     April 6, 2020                                    By     /s/Steven A. Nielsen
 6                                                           Steven A. Nielsen
 7                                                           100 Larkspur Landing Circle, Suite 216
     Patrick Bright (SBN 68709)                              Larkspur, CA 94939
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     (Application for Admission Pro Hac Vice to
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     FIRAT AMENDED COMPLAINT FOR PATENT INFRINGEMENT
     AGAINST TESLA, INC. AND JURY DEMAND
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ARSUS Tesla First Amended Complaint
                         Exhibit A
            Asserted US Patents
     8,634,989 and 10,259,494




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ARSUS Tesla First Amended Complaint
                         Exhibit B
 Claim Charts of Asserted US Patents
      8,634,989 and 10,259,494




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                 200406 Comparison of Autopilot vs US Asserted Claims.doc


        Claim 1 of US patent 8,634,989 is analyzed in comparison to a Tesla vehicle (e.g. Tesla model S, X,
or 3) equipped with “Autopilot”. See Appendix A for the definition of Autopilot.

       TAP = The product – A Tesla Vehicle Equipped with Autopilot or the “Autopilot” apparatus of a
Tesla vehicle.

       US 8,634,989, claim 1 reads verbatim = “A rollover prevention apparatus that allows a vehicle to be
steered within a non-rollover steering range of motion of said vehicle but prevents said vehicle from being
steered beyond a rollover threshold of said vehicle”.


Lmt                   Limitations Contained in Subject Claim of 8,634,989                       Claim
                                                                                                          TAP
 #                     (“statements of intended use” and/or comments are italicized)              1
  1                        The product is a rollover prevention apparatus.                        Y          Y*1
        The apparatus allows a vehicle to be steered within a non-rollover steering range of
  2                                                                                               Y          Y*1
                                      motion of the vehicle.
        The apparatus prevents the vehicle from being steered beyond a rollover threshold
  3                                                                                               Y          Y*1
                                          of the vehicle.


        Inasmuch as the product (Autopilot) practices every limitation of claim 1, it is shown that the product
practices claim 1 (in its entirety). Or in other words, the product infringes claim 1.


____________________
*1: See definition of Autopilot in Appendix A.




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Tesla Autopilot Analysis                      Amended
                                                  1 of 7 Complaint - Exhibits; Pg. 39             4/6/2020
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                 200406 Comparison of Autopilot vs US Asserted Claims.doc


        Claim 2 of US patent 8,634,989 is analyzed in comparison to a Tesla vehicle (e.g. Tesla model S, X,
or 3) equipped with “Autopilot”. See Appendix A for the definition of Autopilot.

       TAP = The product – A Tesla Vehicle Equipped with Autopilot or the “Autopilot” apparatus of a
Tesla vehicle.

        US 8,634,989, claims 1 and 2 read verbatim = “A rollover prevention apparatus that allows a vehicle
to be steered within a non-rollover steering range of motion of said vehicle but prevents said vehicle from
being steered beyond a rollover threshold of said vehicle” and “The apparatus of claim 1, wherein said
apparatus prevents said vehicle from being steered to the point of vehicle rollover”.


Lmt                   Limitations Contained in Subject Claim of 8,634,989                       Claim
                                                                                                          TAP
 #                     (“statements of intended use” and/or comments are italicized)              2
  1                        The product is a rollover prevention apparatus.                        Y          Y*1
        The apparatus allows a vehicle to be steered within a non-rollover steering range of
  2                                                                                               Y          Y*1
                                      motion of the vehicle.
        The apparatus prevents the vehicle from being steered beyond a rollover threshold
  3                                                                                               Y          Y*1
                                          of the vehicle.
           The apparatus prevents the vehicle from being steered to the point of vehicle
  4                                                                                               Y          Y*1
                                             rollover.


        Inasmuch as the product (Autopilot) practices every limitation of claim 2, it is shown that the product
practices claim 2 (in its entirety). Or in other words, the product infringes claim 2.


____________________
*1: See definition of Autopilot in Appendix A.




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Tesla Autopilot Analysis                      Amended
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        Claim 3 of US patent 8,634,989 is analyzed in comparison to a Tesla vehicle (e.g. Tesla model S, X,
or 3) equipped with “Autopilot”. See Appendix A for the definition of Autopilot.

       TAP = The product – A Tesla Vehicle Equipped with Autopilot or the “Autopilot” apparatus of a
Tesla vehicle.

        US 8,634,989, claims 1 and 3 read verbatim = “A rollover prevention apparatus that allows a vehicle
to be steered within a non-rollover steering range of motion of said vehicle but prevents said vehicle from
being steered beyond a rollover threshold of said vehicle” and “The apparatus of claim 1, wherein said
apparatus is automatically actuated in response to the speed of said vehicle”.


Lmt                   Limitations Contained in Subject Claim of 8,634,989                        Claim
                                                                                                          TAP
 #                     (“statements of intended use” and/or comments are italicized)               3
  1                        The product is a rollover prevention apparatus.                        Y           Y*1
        The apparatus allows a vehicle to be steered within a non-rollover steering range of
  2                                                                                               Y           Y*1
                                      motion of the vehicle.
        The apparatus prevents the vehicle from being steered beyond a rollover threshold
  3                                                                                               Y           Y*1
                                          of the vehicle.
  4       The apparatus is automatically actuated in response to the speed of the vehicle.        Y           Y*2



        Inasmuch as the product (Autopilot) practices every limitation of claim 3, it is shown that the product
practices claim 3 (in its entirety). Or in other words, the product infringes claim 3.


____________________
*1: See definition of Autopilot in Appendix A.
*2: Autopilot self-steering actuates in response inter alia to vehicle speed - see Appendix A.




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Tesla Autopilot Analysis                      Amended
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               Case 3:20-cv-00313-RS Document 13 Filed 04/07/20 Page 46 of 72
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        Claim 4 of US patent 8,634,989 is analyzed in comparison to a Tesla vehicle (e.g. Tesla model S, X,
or 3) equipped with “Autopilot”. See Appendix A for the definition of Autopilot.

       TAP = The product – A Tesla Vehicle Equipped with Autopilot or the “Autopilot” apparatus of a
Tesla vehicle.

        US 8,634,989, claims 1 and 4 read verbatim = “A rollover prevention apparatus that allows a vehicle
to be steered within a non-rollover steering range of motion of said vehicle but prevents said vehicle from
being steered beyond a rollover threshold of said vehicle” and “The apparatus of claim 1, wherein said
apparatus prevents said vehicle from being steered to the point of vehicle rollover in a first direction but
allows said vehicle to be freely steered in a second direction”.


Lmt                   Limitations Contained in Subject Claim of 8,634,989                       Claim
                                                                                                          TAP
 #                     (“statements of intended use” and/or comments are italicized)              4
  1                        The product is a rollover prevention apparatus.                        Y          Y*1
        The apparatus allows a vehicle to be steered within a non-rollover steering range of
  2                                                                                               Y          Y*1
                                      motion of the vehicle.
        The apparatus prevents the vehicle from being steered beyond a rollover threshold
  3                                                                                               Y          Y*1
                                          of the vehicle.
           The apparatus prevents the vehicle from being steered to the point of vehicle
  4                                                                                               Y          Y*1
                                   rollover in a first direction.
  5          The apparatus allows the vehicle to be freely steered in a second direction.         Y          Y*1



        Inasmuch as the product (Autopilot) practices every limitation of claim 4, it is shown that the product
practices claim 4 (in its entirety). Or in other words, the product infringes claim 4.


____________________
*1: See definition of Autopilot in Appendix A.




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Tesla Autopilot Analysis                      Amended
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                 200406 Comparison of Autopilot vs US Asserted Claims.doc


        Claim 21 of US patent 10,259,494 is analyzed in comparison to a Tesla vehicle (e.g. Tesla model S,
X, or 3) equipped with “Autopilot”. See Appendix A for the definition of Autopilot.

       TAP = The product – A Tesla Vehicle Equipped with Autopilot or the “Autopilot” apparatus of a
Tesla vehicle.

       US 10,259,494, claim 21 reads verbatim = “A steering apparatus configured to allow a vehicle to be
steered out of an SOA path but not to the extent of vehicle rollover”.


Lmt                  Limitations Contained in Subject Claim of 8,634,989                      Claim
                                                                                                       TAP
 #                    (“statements of intended use” and/or comments are italicized)            21
  1                        The product is a rollover steering apparatus.                       Y           Y*1
        The apparatus is configured to allow a vehicle to be steered out of an SOA path but
  2                                                                                            Y           Y*1
                               not to the extent of vehicle rollover.


       Inasmuch as the product (Autopilot) practices every limitation of claim 21, it is shown that the
product practices claim 21 (in its entirety). Or in other words, the product infringes claim 21.


____________________
*1: See definition of Autopilot in Appendix A.




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Tesla Autopilot Analysis                      Amended
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                 200406 Comparison of Autopilot vs US Asserted Claims.doc


        Claim 22 of US patent 10,259,494 is analyzed in comparison to a Tesla vehicle (e.g. Tesla model S,
X, or 3) equipped with “Autopilot”. See Appendix A for the definition of Autopilot.

       TAP = The product – A Tesla Vehicle Equipped with Autopilot or the “Autopilot” apparatus of a
Tesla vehicle.

        US 10,259,494, claims 21 and 22 read verbatim = “A steering apparatus configured to allow a
vehicle to be steered out of an SOA path but not to the extent of vehicle rollover” and “The steering
apparatus of claim 21 wherein said apparatus includes an active mode, an inactive mode, a steering wheel,
an actuator, at least one sensor, and an electronic control unit, and wherein said actuator is configured to
actuate upon receipt of an actuation signal, and wherein said sensor is configured to sense the magnitude of
at least one driving parameter, and wherein said electronic control unit is configured to send an actuation
signal to said actuator when a sensed driving parameter exceeds a predetermined magnitude, and wherein
said apparatus is configured such that when said vehicle rounds a curve at any rollover capable speed, the
steering angle of said vehicle is prevented from being increased to beyond a rollover threshold of said
vehicle when said apparatus is in said active mode”.


Lmt                  Limitations Contained in Subject Claim of 8,634,989                        Claim
                                                                                                         TAP
 #                    (“statements of intended use” and/or comments are italicized)              22
  1                        The product is a rollover steering apparatus.                         Y           Y*1
        The apparatus is configured to allow a vehicle to be steered out of an SOA path but
  2                                                                                              Y           Y*1
                               not to the extent of vehicle rollover.
                              The apparatus includes an active mode.                             Y           Y*2

                             The apparatus includes an inactive mode.                            Y           Y*2

                             The apparatus includes a steering wheel.                            Y           Y*1

                                The apparatus includes an actuator.                              Y           Y*3

                            The apparatus includes at least one sensor.                          Y           Y*4

                         The apparatus includes an electronic control unit.                      Y           Y*5

             The actuator is configured to actuate upon receipt of an actuation signal.          Y           Y*1

         The sensor is configured to sense the magnitude of at least one driving parameter.      Y           Y*6
        The electronic control unit is configured to send an actuation signal to the actuator
                                                                                                 Y           Y*5
               when a sensed driving parameter exceeds a predetermined magnitude.
            The apparatus is configured such that when the vehicle rounds a curve at any
          rollover capable speed, the steering angle of the vehicle is prevented from being
                                                                                                 Y           Y*7
        increased to beyond a rollover threshold of the vehicle when the apparatus is in the
                                             active mode.

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       Inasmuch as the product (Autopilot) practices every limitation of claim 22, it is shown that the
product practices claim 22 (in its entirety). Or in other words, the product infringes claim 22.

____________________
*1: See definition of Autopilot in Appendix A.
*2: Autopilot can be selectively turned on (placed in an active mode) and turned off (placed in an inactive
mode) - see Appendix A.
*3: The actuator of Autopilot is the device that actually effects a change in the steering angle of the vehicles
drive (rolling) wheels - see Appendix A.
*4: Autopilot has and uses a plurality of sensors of a plurality of types - see Appendix A.
*5: Autopilot has an ECU which receives input and provides output - see Appendix A.
*6: Autopilot’s sensors sense a plurality of driving parameters including vehicle speed and vehicle steering
angle - see Appendix A.
*7: See for instance the “Tesla in Iceland” video of Appendix A.




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Tesla Autopilot Analysis                      Amended
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                                                                 200406 Comparison of Autopilot vs US Asserted Claims – Appendix A

                                                                    As derived from Tesla’s website circa 2015, publically available statements by Elon
                                                                Musk, and publically posted sources: Autopilot is a system provided by Tesla Motors
                                                                that automatically controls the steering and braking of a vehicle in which it is installed
                                                                such that when Autopilot is activated (i.e. the vehicle is placed in autonomous mode)
                                                                and traveling at a speed wherein a rollover threshold of the vehicle exists (e.g. typical
                                                                freeway speeds), the vehicle is autonomously driven down a path and yet is prevented
                                                                from being steered beyond a threshold of roll of the vehicle. This is true whether the
                                                                vehicle is traveling along a straight path or along a curved a path. Were this not so,
                                                                then when in the noted mode, the vehicle would be steered beyond a threshold of roll
                                                                (i.e. the vehicle would roll over) when encountering a curve in the road or at least
                                                                would only be by chance if the vehicle happened to not roll. With Autopilot activated,
                                                                a vehicle will automatically slow so as to negotiate a curve if the combination of
                                                                vehicle speed and curve radius are determined to be excessive to safely negotiate.
                                                                Every Tesla vehicle in which Autopilot is installed also includes (and by law must
                                                                include) a manual steering mode such that the vehicle operator may steer the vehicle
                                                                in a conventional manner within a non‐rollover steering range of motion (not to




200406 ARSUS Tesla First Amended Complaint - Exhibits; Pg. 46
                                                                mention within a rollover steering range of motion). Every Tesla vehicle since October
                                                                                                                                                             Case 3:20-cv-00313-RS Document 13 Filed 04/07/20 Page 50 of 72




                                                                of 2014 is Autopilot hardware equipped. All instances of the recently announced Tesla
                                                                model 3 will be Autopilot hardware equipped. Autopilot is a customer option
                                                                (currently $2,500 upon order or $3,000 after delivery) that may be enabled via an
                                                                over‐the‐air software update.
                                                                                                            1
                                                                    Case 3:20-cv-00313-RS Document 13 Filed 04/07/20 Page 51 of 72
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ARSUS Tesla First Amended Complaint
                         Exhibit C
      Correspondence between
             Schramm and Tesla




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Michael R. Schramm
350 West 2000 South
Perry, UT 84302
801-710-7793
E-mail: mikeschramm@besstek.net


March 2, 2015


Todd A. Maron, General Counsel
Tesla Motors
3500 Deer Creek Road
Palo Alto, CA 94304-1317


       Re: Offer of License to Anti-Roll Steering Invention via USPS #7014 2120 0000 6763 7910



Dear Mr. Maron:

It has come to my attention that Tesla Motors may possibly have developed or be developing a
vehicle or components therefor which provide for the vehicle to be steered within a non-rollover
steering range of motion of the vehicle but that prevents the vehicle from being steered beyond a
rollover threshold of the vehicle (see enclosed from October 10, 2014 “Elon Musk: Don't Fall
Asleep at the Wheel for Another 5 Years” by CNet).

I note that I have invented and patented Anti-Roll Steering TM (ARS TM). As a general explanation,
ARS is analogous to ABS (Anti-Lock Braking System) in that whereas ABS prevents an operator
from applying excessive brake force so as to avoid breaking traction of the vehicle’s tires from a
road surface (i.e. skidding), thus minimizing vehicle stopping distance (maximizing braking
effectiveness) without otherwise altering normal brake function, ARS prevents an operator from
steering too sharply (i.e. oversteer) so as to avoid vehicle rollover, thus minimizing vehicle safe turn
radius (maximizing steering effectiveness) without otherwise altering normal steering function.

The substantial uniqueness of the ARS invention has enabled exceedingly broad patent claims*1. I
point to for instance claim 1 of US patent 8,634,989 (see enclosed copy of US 8,634,989) which
reads verbatim:

    “A rollover prevention apparatus that allows a vehicle to be steered within a non-rollover
    steering range of motion of said vehicle but prevents said vehicle from being steered
    beyond a rollover threshold of said vehicle.”

It is noted that in essence, there are three limitations of claim 1, all of which if practiced would
constitute the practice of the entire claim, namely; 1) The apparatus is a rollover prevention
apparatus, 2) The apparatus allows a vehicle to be steered within a non-rollover steering range of
motion of the vehicle, and 3) The apparatus prevents the vehicle from being steered beyond a
rollover threshold of the vehicle.


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Inasmuch as I do not know the specifics of the functioning of what Tesla may possibly have
developed or be developing, I will compare here claim 1 with a Theoretical Autonomous Vehicle
(TAV). The TAV includes both an autonomous mode and a manual mode. In the autonomous
mode, the TAV is prevented from being steered beyond a rollover threshold of the TAV (e.g. the
TAV is adapted to automatically steer around a curve at a speed above a TAV rollover threshold
but, by virtue of TAV programming, not so sharply that the TAV rolls over), and in the manual
mode, the TAV is allowed to be steered within a non-rollover steering range of motion of the TAV
(e.g. the TAV may be steered manually similar to a conventional vehicle). It is seen that the TAV
(when in manual mode) practices limitation #2, and that the TAV (when in autonomous mode)
practices limitation #3 and consequently by definition limitation #1. Further, by virtue of practicing
all three limitations, it is seen that the TAV practices claim 1 in its entirety.

Given that Tesla may possibly have developed or be developing an actual vehicle or components
therefor which function according to the described TAV, I am writing to offer Tesla a license to
rights under my steering related patents/applications. I ask that you please respond by May 2, 2015
informing me of your interest in acquiring rights under my patents. I look forward to hearing from
Tesla and I would be glad to discuss a license for reasonable terms and conditions.



Thank you,



Michael R. Schramm

_______________________
*1: A CIP application of the ‘898 patent has recently been allowed and includes three independent claims consisting in
length of twelve, six, and one words respectively. The one-word claim, consisting of a mere three letters (ARS), may
possibly be the shortest US utility patent claim ever.




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Michael R. Schramm
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March 19, 2015


J. Richard Soderberg, Patent Counsel
Tesla Motors
3500 Deer Creek Road
Palo Alto, CA 94304-1317


       Re: Response to March 10, 2015 Tesla Letter and Renewed Offer of License


Dear Mr. Soderberg:

Although your response was not as hoped, I thank you for your prompt acknowledgement of receipt
of my offer and response to the same. However, given the succinctness of your answer unsupported
by any justification or rationale for your stated lack of interest, I fear you may not fully appreciate
the results of a detailed comparison of Tesla products versus my patent claims. To that end, I am
attaching for your review an analysis of Tesla products versus claim 1 of my '989 patent. As you
will see from the analysis, the question of whether or not Tesla already practices claim 1 "turns" on
the question of whether or not Tesla products are adapted to autonomously steer a vehicle at a speed
above a roll threshold without the vehicle rolling over. While you are of course much more familiar
with Tesla's products than I and inevitably must know the answer to the question, I do note that
according to press releases, just today, “CEO Elon Musk revealed that Tesla will ship a software
update "in about three months" that will turn on auto-steering, or "autopilot" as Musk often refers
to it. "We can basically go between San Francisco and Seattle without the driver doing anything,"
Musk said of the autonomous system that Tesla has developed. For now, you'll only be able to
engage auto-steering on highways” (see “Tesla's Model S will add self-driving 'autopilot' mode in
three months” March 19, 2015, The Verge).

If by chance the attached analysis causes you to reconsider Tesla's position and Tesla would like to
arrange a license, I ask that you please contact me at your earliest opportunity.


Thank you,



Michael R. Schramm

cc: Todd A. Maron, General Counsel



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                     150319 Comparison of AVs vs US 8,634,989 patent.doc

        A method to determine if a product practices a patent claim is to perform an analysis of the claim as
compared to the product on a limitation by limitation basis. If every required limitation of the claim is
practiced by the product, the product practices the claim. Conversely, if every required limitation of the
claim is not practiced by the product, the product does not practice the claim.

       In this case, claim 1 of US 8,634,989 is analyzed in comparison to a TAV product.

       TAV = A Theoretical Autonomous (automotive) Vehicle having a manual operational mode wherein
the TAV is manually steerable within a non-rollover steering range of motion (e.g. the TAV may be steered
manually similar to a conventional vehicle) and an autonomous operational mode wherein the TAV is
prevented from being steered beyond a rollover threshold of the TAV (e.g. the TAV is adapted to
autonomously steer along a curve at a speed above a TAV rollover threshold but, by virtue of TAV
programming, not so sharply that the TAV rolls over).

       US 8,634,989, claim 1 = “A rollover prevention apparatus that allows a vehicle to be steered within a
non-rollover steering range of motion of said vehicle but prevents said vehicle from being steered beyond a
rollover threshold of said vehicle”.


Lmt                    Limitations Contained in Subject Claim of 8,634,989                     Claim
                                                                                                        TAV
 #                      (“statements of intended use” and/or comments are italicized)            1
  1                           The item is a rollover prevention apparatus.                      Y        Y*1
        The apparatus allows a vehicle to be steered within a non-rollover steering range of
  2                                                                                             Y            Y
                                      motion of the vehicle.
        The apparatus prevents the vehicle from being steered beyond a rollover threshold
  3                                                                                             Y            Y
                                          of said vehicle.


*1: Limitation #1 is satisfied by definition because limitation #3 is satisfied.




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                     150319 Comparison of AVs vs US 8,634,989 patent.doc

        A method to determine if a product practices a patent claim is to perform an analysis of the claim as
compared to the product on a limitation by limitation basis. If every required limitation of the claim is
practiced by the product, the product practices the claim. Conversely, if every required limitation of the
claim is not practiced by the product, the product does not practice the claim.

        In this case, claim 1 of US 8,634,989 is analyzed in comparison to Tesla’s model S equipped with
auto-steering “autopilot” autonomous vehicle product.

       TAP = Tesla model S autonomous vehicle equipped with auto-steering AutoPilot having a manual
operational mode wherein the TAP is manually steerable within a non-rollover steering range of motion (e.g.
the TAP may be steered manually similar to a conventional vehicle) and an autonomous operational mode
wherein it is (speculated but) unknown if the TAP is prevented from being steered beyond a rollover
threshold of the TAP (e.g. is the TAP adapted to autonomously steer at a speed above a TAP rollover
threshold but, by virtue of TAP programming, not so sharply that the TAP rolls over?).

       US 8,634,989, claim 1 = “A rollover prevention apparatus that allows a vehicle to be steered within a
non-rollover steering range of motion of said vehicle but prevents said vehicle from being steered beyond a
rollover threshold of said vehicle”.


Lmt                    Limitations Contained in Subject Claim of 8,634,989                             Claim
                                                                                                                TAP
 #                      (“statements of intended use” and/or comments are italicized)                    1
  1                           The item is a rollover prevention apparatus.                              Y      TBD*1
        The apparatus allows a vehicle to be steered within a non-rollover steering range of
  2                                                                                                     Y            Y
                                      motion of the vehicle.
        The apparatus prevents the vehicle from being steered beyond a rollover threshold
  3                                                                                                     Y      TBD*2
                                          of said vehicle.


*1: It is unknown if limitation #1 is satisfied because it is unknown if limitation #3 is satisfied.

*2: It is unknown if limitation #3 is practiced. However, it is known that if limitation #3 is practiced, then
claim 1 is practiced which would mean that Tesla is directly infringing claim 1. If limitation #3 is not
practiced, then claim 1 is not practiced and Tesla does not infringe claim 1. However, if Tesla’s TAP does
not practice limitation #3, then Tesla’s TAP, by definition, is preprogrammed to roll over in autonomous
mode and Tesla would have bigger problems than potentially infringing claim 1 (i.e. product liability
problems). It may be that the press reports that will inevitably follow the release of Tesla’s announced auto-
steering AutoPilot software update, will answer the question of the practice of limitation #3 of claim 1.




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                                       Tesla's Model S willDocument
                                                            add self-driving 13     Filed
                                                                             'autopilot' mode04/07/20
                                                                                             in three months |Page   70 of 72
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     Tesla's Model S will add self-driving
     'autopilot' mode in three months
     By Chris Welch on March 19, 2015 12:41 pm




     Tesla's preparing a software update that will bring powerful auto-steering
     functionality to its Model S fleet. During today's press call — which mostly focused
     on curing range anxiety — CEO Elon Musk revealed that Tesla will ship a software
     update "in about three months" that will turn on auto-steering, or "autopilot" as
     Musk often refers to it. "We can basically go between San Francisco and Seattle
     without the driver doing anything," Musk said of the autonomous system that Tesla
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http://www.theverge.com/2015/3/19/8257933/tesla-model-s-autopilot-release-date                                                  1/2
3/19/2015                 Case 3:20-cv-00313-RS
                                       Tesla's Model S willDocument
                                                            add self-driving 13     Filed
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     has developed. For now, you'll only be able to engage auto-steering on highways.
     We got a preview of the autopilot functionality during our initial test drive in the
     P85D, which you can watch below.


            ELON DOESN'T WANT YOU TO CONFUSE AUTOPILOT WITH A SELF-
            DRIVING CAR
     "It is technically capable of going from parking lot to parking lot," said Musk. "But
     we won't be enabling that for users with this hardware suite, because we don't
     think it's likely to be safe in suburban neighborhoods," he said, noting that such
     streets often lack posted speed limit signs and pose obstacles like children playing
     in the street. In the future, drivers will be able to summon an unmanned Model S to
     their location or direct the car to drive itself into a garage.


     Musk noted that these features remain illegal on most US roads, so he cautioned
     that drivers will be restricted to using them on private property. He also made clear
     that autopilot isn't to be confused with a proper self-driving car. "There’s certainly
     an expectation that when autopilot on the Model S is enabled, that you’re paying
     attention. But it should also take care of you if you have moments of distraction."




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http://www.theverge.com/2015/3/19/8257933/tesla-model-s-autopilot-release-date                                                  2/2
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                    CERTIFICATE OF SERVICE


      I, the undersigned, hereby certify that the foregoing document, namely,
PLAINTIFF ARSUS, LLC’s FIRST AMENDED COMPLAINT, WITH
EXHIBITS, is being served electronically, by the Court’s e-serve system, at the
same time it is being e-filed with the Court, on April 7, 2020, to all attorneys of
record for Defendant TESLA, INC., who are COOLEY LLP by the following
attorneys:



Michael Rhodes, Esq., rhodesmg@cooley.com
Heidi L. Keefe, Esq., hkeefe@cooley.com
Adam Pviovar, Esq., apivovar@cooley.com




Dated: April 7, 2020                         /s/ Patrick F. Bright
                                        __________________________
                                            PATRICK F. BRIGHT
